            Case 4:19-cv-05207-RMP                   ECF No. 18          filed 07/09/20     PageID.834 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                     FILED IN THE
                                                                                                           U.S. DISTRICT COURT
                                                     Eastern District of Washington                  EASTERN DISTRICT OF WASHINGTON


                           ANITA B.,
                                                                                                       Jul 09, 2020
                                                                     )                                    SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:19-cv-05207-RMP
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL                             )
                SECURITY,                                            )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 14) is GRANTED IN PART with respect to remand and DENIED
’
              IN PART with respect to remanding with instructions to credit any particular evidence as true and award benefits.
              Defendant’s Motion for Summary Judgment (ECF No. 15) is DENIED.
              The matter is REMANDED to the Commissioner for additional proceedings.
              Judgment is entered for Plaintiff.

This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge          ROSANNA MALOUF PETERSON                                            on a motions for
      Summary Judgment (ECF Nos. 14 and 15).


Date: 7/9/2020                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lee Reams
                                                                                          (By) Deputy Clerk

                                                                             Lee Reams
